            Case 1:21-cv-01529-JEB Document 17 Filed 03/09/22 Page 1 of 2

The order below is hereby signed.

Signed: March 9 2022




                                         _____________________________
                                         S. Martin Teel, Jr.
                                         United States Bankruptcy Judge


                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                        )
     ELENA BELOV,                       )
                                        )
                        Plaintiff,      )
                                        )
                   v.                   )     Civil Action No. 21-1529 (JEB)
                                        )
     WORLD WILDLIFE FUND, INC.,         )
                                        )
                        Defendant.      )

        ORDER SETTING NO FURTHER MEDIATION SESSION UNLESS THE PARTIES
       AT SOME JUNCTURE JOINTLY REQUEST THAT A FURTHER SESSION BE SET

           This matter was referred to me for the purpose of mediation.

     The parties appeared for a mediation session on March 9, 2022,

     and were unable to reach a settlement in that session.           At this

     juncture the parties appear to be at an impasse regarding

     reaching a settlement.     However, there has not been any extensive

     discovery at this juncture.      The parties agreed that they ought

     to be allowed jointly to request me to resume mediation before me

     in case they come to believe that a further session might assist

     them in reaching a settlement.         It is thus

           ORDERED that the mediation of this civil action is deemed to

     have been unsuccessful at this juncture, and a further mediation
                                        Case 1:21-cv-01529-JEB Document 17 Filed 03/09/22 Page 2 of 2



session is not being set at this juncture, but the parties are

free jointly to request me to hold another mediation session if

they at some point come to believe that a renewed mediation

session might assist them in attempting to reach a settlement.

                                                                                                                                         [Signed and dated above.]

Copies to: All counsel of record.




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